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  01:00:00                                GRAPHICS ON SCREEN:
                                          MURDAUGH
                                          MURDERS
                                          DEADLY DYNASTY

  01:00:10                                GRAPHICS ON SCREEN:
                                          Colleton County, SC

  01:00:15                                GRAPHICS ON SCREEN:
                                          2021

  01:00:18                                GRAPHICS ON SCREEN:
                                          June 7

  01:00:23   Alex Murdaugh (Archive)      <CRIES>

  01:00:23                                GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          10:07 pm

  01:00:24                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Hampton county 9-1-1.
                                          Where's your emergency?

  01:00:24   911 Operator (Archive)       Hampton county 9-1-1. Where's your
                                          emergency?

  01:00:28                                GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          10:07 pm

  01:00:28                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Indistinguishable]

  01:00:29                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          This is Alex Murdaugh at
                                          4147 Moselle Road.

  01:00:29   Alex Murdaugh (Archive)      This is Alex Murdaugh at 4147 Moselle
                                          Road. I need the police and a ambulance
                                          immediately. My wife and child have been
                                          shot badly.
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  01:00:33                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          I need the police and a
                                          ambulance immediately.

  01:00:36                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          My wife and child have been shot badly.

  01:00:39   911 Operator (Archive)       Stay on the line with me, okay?

  01:00:39                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Stay on the line with me, okay?

                                          Alex Murdaugh:
                                          Please hurry.

  01:00:39   Alex Murdaugh (Archive)      It's bad, please hurry!

  01:00:41   911 Operator (Archive)       Yes, sir. Stay on the line with me, okay?

  01:00:41                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Yes, sir. Stay on the line with me, okay?

  01:00:48   Gregg Roman                  Maggie Murdaugh and Paul Murdaugh are
                                          found dead next to the kennel where they had
                                          kept their hunting dogs on their Moselle
                                          hunting plantation.

  01:00:51                                GRAPHICS ON SCREEN:
                                          GREGG ROMAN
                                          Investigative Journalist

  01:00:58   Drew Tripp                   He discovers Maggie and Paul's bodies.
                                          They’ve been shot.

  01:01:00                                GRAPHICS ON SCREEN:
                                          DREW TRIPP
                                          Investigative Producer WCIV TV

  01:01:03                                GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          10:07 pm
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  01:01:04   Alex Murdaugh (Archive)      I've been up to it now. It's bad.

  01:01:04                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          I've been up to it now. It's bad.

  01:01:07   911 Operator (Archive)       Okay. <RADIO COMMUNICATION> Okay.
                                          And are they breathing?

  01:01:07                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay.

  01:01:08                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Indistinguishable]

  01:01:09                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay. And are they breathing?

  01:01:12   Alex Murdaugh (Archive)      No, ma'am.

  01:01:12                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          No, ma'am.

  01:01:13   911 Operator (Archive)       Okay. And you said it's your wife and your
                                          son?

  01:01:13                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay. And you said it's your
                                          wife and your son?

  01:01:16   Alex Murdaugh (Archive)      My wife and my son.

  01:01:16                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          My wife and my son
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  01:01:19   911 Operator (Archive)       Are they in a vehicle?

  01:01:19                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Are they in a vehicle?

  01:01:21   Alex Murdaugh (Archive)      No, ma'am. They're on the ground, out at my
                                          kennels.

  01:01:21                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          No, ma'am. They're on the ground.

  01:01:23                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Out at my kennels..

  01:01:24   911 Operator (Archive)       Okay. And did you you see anyone? Is he
                                          breathing at all?

  01:01:24                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay. And did you you see anyone?
                                          Is he breathing at all?

  01:01:29   Alex Murdaugh (Archive)      <CRYING> No. Nobody.

  01:01:29                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          No. Nobody.

  01:01:32   911 Operator (Archive)       Do you see anyone in the area?

  01:01:32                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator
                                          Do you see anyone in the area?

  01:01:35   Alex Murdaugh (Archive)      No, ma'am. No, ma'am.

  01:01:35                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          No, ma'am. No, ma'am.
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  01:01:41   911 Operator (Archive)       And you're sure they're not breathing...Is he
                                          moving at all, your son? I know you said that
                                          she was shot, but what about your son?

  01:01:41                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          And you're sure they're not breathing.

  01:01:47                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Is he moving at all, your son?

  01:01:49                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          I know you said that she was shot,

  01:01:50                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          but what about your son?

  01:01:53   Alex Murdaugh (Archive)      <CRIES> Nobody. They're not. Neither one
                                          of 'em's moving.

  01:01:55                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          Nobody. They're not.
                                          Neither one of them is moving.

  01:01:58   911 Operator (Archive)       And does anything look out of place?

  01:01:58                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          And does anything look out of place?

  01:02:01   Alex Murdaugh (Archive)      Ma'am, I--I--...Not-- not particularly, really.
                                          No, ma'am.

  01:02:01                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          Ma'am, I... I...

  01:02:05                                GRAPHICS ON SCREEN:
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                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          Not... not particularly really. No, ma'am.

  01:02:08   911 Operator (Archive)       Okay. Okay.

  01:02:08                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay.

  01:02:10                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay.

  01:02:12   Alex Murdaugh (Archive)      All right, I'm going back down there. Are they
                                          close, ma'am?

  01:02:12                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          All right, I'm going back down there.

  01:02:15                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          Are they close, ma'am?

  01:02:16   911 Operator (Archive)       Yeah, They’re--. They've been on route with
                                          you ever since you got on the phone with me.
                                          I have multiple people coming out there to
                                          you

  01:02:16                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator
                                          Yeah, they're... they've been on
                                          route with you ever since

  01:02:19                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          you got on the phone with me.

  01:02:20                                GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          I have multiple people coming out
                                          there to you.
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  01:02:24   Drew Tripp                   Colleton County Sheriff's Office dispatches
                                          deputies out there. This was in Colleton
                                          County South Carolina.

  01:02:29                                GRAPHICS ON SCREEN:
                                          First Responders arrive at
                                          10:25 pm

  01:02:37   Anne Emerson                 Paul's body was found halfway in, halfway
                                          out of the actual dog kennels, and that he had
                                          been shot with a shotgun. And his mom,
                                          Maggie, had been found about 15 ft away,
                                          and she had also been shot multiple times.

  01:02:41                                GRAPHICS ON SCREEN:
                                          ANNE EMERSON
                                          Investigative Reporter WCIV TV

  01:02:55   D'Michelle Dupre             The thing that is surprising to me is that
                                          Maggie and Paul were both shot with
                                          different weapons.

  01:02:59                                GRAPHICS ON SCREEN:
                                          D'MICHELLE DUPRE

                                          Forensic Pathologist

  01:03:04   Gregg Roman                  Paul with a shotgun blast to his head, Maggie
                                          being shot with A semi-automatic rifle.

  01:03:13   Anne Emerson                 Why were two different guns used in these
                                          murders? Why was a shotgun used to kill
                                          Paul, and a rifle used to kill Maggie?

  01:03:24   D'Michelle Dupre             Did the killer do that on purpose to make it
                                          look like there were two shooters?

  01:03:31   Drew Tripp                   Colleton County Sheriff's Office very quickly
                                          call in for assistance from SLED, the State
                                          Law Enforcement Division.

  01:03:41   Anne Emerson                 The hunting estate in Moselle is a massive
                                          property. It's about 1,800 acres, and it goes all
                                          the way from Hampton county down to the
                                          Colleton county line in the low country.

  01:03:55                                GRAPHICS ON SCREEN:
                                          Alex tells investigators
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                                          that he arrived at the Moselle
                                          house at around 10:00pm.

  01:04:04   Anne Emerson                 According to Alex, he was visiting his father
                                          just before these murders, and then had come
                                          back to Moselle, and had come up on this
                                          horrible scene.

  01:04:14   D'Michelle Dupre             The coroner puts the time of death at around
                                          9:30 or so, and the call came in at just a little
                                          after ten. From the time that the 911 call came
                                          in to the time of death, it's very short. I mean,
                                          it's 30 minutes or so. Alex and the killer
                                          certainly could have crossed paths.

  01:04:35                                GRAPHICS ON SCREEN:
                                          By the next morning, news of the murders
                                          quickly spreads throughout South Carolina
                                          and the media descends on Moselle.

  01:04:43   Newsreader (Archive)         The bodies of Paul Murdaugh and his mother
                                          were found on the family’s sprawling hunting
                                          lodge property.

  01:04:48   Newsreader (Archive)         A South Carolina community is in shock after
                                          a mother and a son of this prominent family in
                                          the Charleston area were shot dead. Police
                                          confirmed the deaths of Maggie and Paul
                                          Murdaugh are being investigated as a double
                                          homicide.

  01:05:04   Anne Emerson                 It starts dawning on pretty much everyone at
                                          the same time, Murdaugh, this is Paul
                                          Murdaugh. This is the same Paul Murdaugh
                                          who we've already been covering for this fatal
                                          boat crash involving Mallory Beach.

  01:05:18   Linda Hiers                  Yeah, I was in disbelief. I--I was in shock.
                                          And I guess the rest of Hampton was also.

  01:05:20                                GRAPHICS ON SCREEN:
                                          LINDA HIERS

                                          Hampton Native

  01:05:26   Drew Tripp                   The boat crash happened in February 2019.
                                          After the death of Mallory Beach, more than
                                          two years go by. Flash forward now, it's the
                                          spring of 2021. Paul is just now about to have
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                                          his first hearing in court related to the felony
                                          charges against him from that boat crash.

   01:05:44   Anne Emerson                There's supposed to be a hearing in three
                                          days. And this is a young kid, and he was
                                          looking at two decades behind bars.

   01:05:52   Drew Tripp                  This is a big deal. Finally, some progress in
                                          this case that is so close to home for so many
                                          people in this small, tight knit community.

   01:06:04   Gregg Roman                 And then, three days before the criminal
                                          hearing, Paul Murdaugh was murdered along
                                          with his mother.

   01:06:10   Drew Tripp                  Immediately, everyone is asking the obvious
                                          question - who killed them? Why?

   01:06:19   Newsreader (Archive)        We may be making a very gross assumption
                                          that the younger Murdaugh, Paul, the--the--
                                          the--the son, was the target. What if she was
                                          the target and he was the collateral damage?

   01:06:39   Drew Tripp                  There has been rampant speculation about
                                          why they were killed, who could've killed
                                          them. And it has led to any number of
                                          theories, some with more grounding in reality
                                          than others. Everyone is indulging in the
                                          conspiracy theories of why this happened.

   01:07:03   D'Michelle Dupre            In law enforcement, suspects are our bread
                                          and butter. And the person who finds the body
                                          is always the number one suspect, as is the
                                          spouse of the deceased.

   01:07:16   Gregg Roman                 Alex Murdaugh was, at that time, a person of
                                          interest in the deaths of his wife and his son.

   01:07:26                               Break 1

   01:07:34   D'Michelle Dupre            Almost immediately, law enforcement came
                                          out and told the community, "Don't worry,
                                          you're not in danger."

   01:07:42   Newsreader (Archive)        New clues are coming to light in the very high
                                          profile double murder of a mother and son in
                                          South Carolina.
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   01:07:53   Anne Emerson                 What everyone took away from the police
                                           was that this was a targeted killing, So, why
                                           were Paul and Maggie Murdaugh targeted?
                                           One of the theories out there has been that this
                                           was an incredibly powerful family of
                                           prosecutors. Is it possible that one of the
                                           hundreds of people that they put behind bars
                                           came back for vengeance? Powerful people
                                           make powerful enemies.

   01:08:07                                GRAPHICS ON SCREEN:
                                           ANNE EMERSON
                                           Investigative Reporter WCIV TV

   01:08:26                                GRAPHICS ON SCREEN:
                                           Law enforcement releases little
                                           information about the investigation.

   01:08:34   Anne Emerson                 The rumors just running rampant. I mean, the
                                           speculation absolutely is all over the place.
                                           The State Law Enforcement Division, which
                                           we call SLED. SLED is not sharing all of the
                                           details that we wanna have answers to.

   01:08:50   D'Michelle Dupre             We have no information about whether the
                                           guns were found or not. There's just a lot of
                                           unanswered questions. Kudos to law
                                           enforcement, because they have really kept a
                                           lid on that, but that is unusual. There's always
                                           leaks, and there are not many leaks in this
                                           case.

   01:09:07                                GRAPHICS ON SCREEN:
                                           September 16, 2021
                                           Alex Murdaugh's Attorney

   01:09:08   Reporter (Archive)           Did Maggie and Paul Murdaugh have life
                                           insurance policies?

   01:09:12   Dick Harpootlian (Archive)   They didn't have any insurance.

   01:09:13   Reporter (Archive)           They did not have--. They had no insurance?

   01:09:15   Dick Harpootlian (Archive)   They--they had no insurance.

   01:09:17   Drew Tripp                   A constant question has been, did he have a
                                           hand in the deaths of his wife and son? And
                                           that begs the question, why? Why would he
                                           kill his wife and son? Or, why would he hire
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                                           someone to kill his wife and son? What
                                           reason would he have to do it? And that has
                                           led to all sorts of conjecture.

   01:09:30                                GRAPHICS ON SCREEN:
                                           DREW TRIPP
                                           Investigative Producer WCIV TV

   01:09:46   Kimberly Brant               You hear stories. You don't know how much
                                           is true and how much is just someone's
                                           speculation.

   01:09:49                                GRAPHICS ON SCREEN:
                                           KIMBERLY BRANT
                                           Hampton Native

   01:09:53   Drew Tripp                   It's widely rumored that Maggie wasn't living
                                           at the Murdaugh's home in Moselle. She was
                                           staying at the family's beach house on Edisto
                                           Beach. Adding fuel to that fire was a report
                                           that came out several weeks after the murders,
                                           alleging Maggie Murdaugh had recently
                                           visited with a divorce attorney. Alex
                                           Murdaugh’s attorneys have denied this, and
                                           have even challenged anyone with proof of
                                           this to come forward and show them, because
                                           they insist that Maggie and Alex had a loving,
                                           happy relationship.

   01:10:28                                GRAPHICS ON SCREEN:
                                           September 16, 2021
                                           Alex Murdaugh's Attorney

   01:10:28   Reporter (Archive)           Were there any problems in Maggie and
                                           Alex’s Marriage?

   01:10:32   Dick Harpootlian (Archive)   Absolutely none. None. And I--. Trust me, I
                                           was with them for almost two years.

   01:10:38   Kimberly Brant               I have never, for whatever reason, and I can't
                                           even explain it myself. I've never thought that
                                           Alex hired someone to kill them. I think she
                                           and Alex were happy. I don't believe they'll
                                           ever find a person to charge for the murders
                                           of Maggie and Paul...because I believe it was
                                           a hit, and I believe that person is probably not
                                           in the community, and he probably was in the
                                           wind 30 minutes after it happened.
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   01:11:15   Anne Emerson                Two weeks after the double murders, The
                                          State Law Enforcement Division say they're
                                          going to reopen an investigation into a death
                                          of a young man from six years ago, and they
                                          say that they're opening because it's based on
                                          information that they've learned during the
                                          investigation of Paul and Maggie Murdaugh's
                                          murders.

   01:11:37   Newsreader (Archive)        SLED South Carolina Law Enforcement
                                          Division has reopened a 2015 case where a
                                          young teen, 19 year old Stephen Smith, was
                                          found dead on the side of the road.

   01:11:54   Reporter (Archive)          Stephen Smith’s body was found in the
                                          middle of this road. A pathologist said it
                                          appeared to be a hit and run.

   01:12:06   Kimberly Brant              I was not surprised when I heard that SLED
                                          had opened an investigation into Stephen
                                          Smith’s death right after Paul was murdered,
                                          because the rumors were everywhere. I wasn't
                                          shocked, not a bit. It just seemed, like, okay,
                                          well, we knew this was gonna happen. We all
                                          knew this was gonna happen.
                                          It is dirty business.

   01:12:34                               Break 2

   01:12:40   Newsreader (Archive)        The death of a 19 year old man, which for
                                          years had been unresolved but has now been
                                          reopened, based on evidence discovered by
                                          South Carolina law enforcement in the
                                          Murdaugh double homicide case.

   01:12:52   Drew Tripp                  Stephen Smith was from Hampton. He lived
                                          with his twin sister, Stephanie.

   01:12:57   Anne Emerson                Stephanie and Stephen's mom, Sandy, wanted
                                          him to thrive. They truly believed that
                                          Stephen was made to do really wonderful
                                          things.

   01:13:02                               GRAPHICS ON SCREEN:
                                          ANNE EMERSON
                                          Investigative Reporter WCIV TV

   01:13:08   Sandra Smith (Archive)      He was just my heart. He was my heart. Yeah,
                                          he was a mama's boy. <LAUGHS>
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   01:13:10                                GRAPHICS ON SCREEN:
                                           June 23, 2021
                                           WCIV-TV

                                           SANDRA SMITH
                                           Stephen Smith's Mother

   01:13:15   Anne Emerson                 Stephen Smith was 19 years old. He was
                                           gregarious, he was good looking, he was
                                           witty, he was quick, he had a big sense of
                                           humor. He was sort of like this all-American
                                           boy.

   01:13:31   Drew Tripp                   Stephen was a nursing student, and his family
                                           says he wanted to be a doctor.

   01:13:34                                GRAPHICS ON SCREEN:
                                           June 23, 2021
                                           WCIV-TV

                                           CONNIE WHITEHEAD
                                           Stephen Smith's Cousin

   01:13:34   Connie Whitehead (Archive)   Stephen was a good man with a good heart,
                                           and he had big dreams, and he really deserved
                                           to live those dreams.

   01:13:41   Anne Emerson                 Stephen was his own person. And that was
                                           really important to the family dynamic and to
                                           himself. He was openly gay.

   01:13:50   Stephanie Smith (Archive)    He was out of this world. He was always the
                                           last to get ready. You know, last minute in the
                                           car. Two minutes, you know, before anything,
                                           "Oh, I still gotta put my makeup on. I gotta
                                           look good," you know? All the time.

   01:13:55                                GRAPHICS ON SCREEN:
                                           June 23, 2021
                                           WCIV-TV

                                           STEPHANIE SMITH
                                           Stephen Smith's Sister

   01:14:05   Protesters                   <INAUDIBLE>

   01:14:07   Drew Tripp                   Being openly gay in the south would be
                                           incredibly difficult for a teenager, for
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                                          someone Stephen's age. Would of opened
                                          someone like Stephen up to untold torment
                                          and harassment, and bullying, and
                                          mistreatment.

   01:14:10                               GRAPHICS ON SCREEN:
                                          DREW TRIPP
                                          Investigative Producer WCIV TV

   01:14:27                               GRAPHICS ON SCREEN:
                                          Timeline of years started at 2021 and
                                          counting back to 2015

   01:14:34                               GRAPHICS ON SCREEN:
                                          July 18, 3:57 am

                                          Sandy Run Road
                                          Hampton County, SC

   01:14:39                               GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          3:57 am

   01:14:39   911 Operator (Archive)      Hampton County 911. Where is your
                                          emergency?

   01:14:39                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Hampton County 911.
                                          Where is your emergency?

   01:14:42   Caller (Archive)            Hello. I was just going down Sandy Run
                                          Road. I seen somebody laying out.

   01:14:42                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Caller:
                                          Hello. Um... I was just going down
                                          Sandy Run Road.

   01:14:46                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Caller:
                                          I seen somebody laying out.

   01:14:51   Anne Emerson                A man who was making his way to work was
                                          driving down the road at 4 o’clock in the
                                          morning.
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   01:14:58   Drew Tripp                  He sees something in the road. That
                                          something is a body.

   01:15:03                               GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          3:57 am

   01:15:03   Caller (Archive)            Somebody's going to hit him.

   01:15:03                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Somebody going to hit him.

   01:15:05   911 Operator (Archive)      All right, we'll get an officer headed out that
                                          way.

   01:15:05                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          All right, we'll get an officer
                                          headed out that way.

   01:15:10   Anne Emerson                When law enforcement gets there, what they
                                          find is a young man who has this enormous
                                          laceration to his head.

   01:15:20   Michael Duncan              Severe trauma to the head, face area. Shoes,
                                          clothes, everything intact. The coroner ruled,
                                          basically, this appears to be a homicide, it’s
                                          ruled a homicide at that point.

   01:15:26                               GRAPHICS ON SCREEN:
                                          MICHAEL DUNCAN
                                          South Carolina Highway Patrol (Ret.)

   01:15:31   Officer (Archive)           White male, possibly early 20s.

   01:15:35   Sandra Smith (Archive)      We heard on the radio that a body had been
                                          thrown out of a car onto Sandy Run Road.
                                          And Stephen didn't come home that night. So,
                                          then we waited patiently because we couldn't
                                          find him. Her dad got the call to go to the
                                          sheriff's department in Hampton County. And
                                          then that's where they confirmed that it was
                                          Stephen. And they said he was shot in head.

   01:15:38                               GRAPHICS ON SCREEN:
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                                          June 23, 2021
                                          WCIV-TV

                                          SANDRA SMITH
                                          Stephen Smith's Mother

   01:15:54                               GRAPHICS ON SCREEN:
                                          June 23, 2021
                                          WCIV-TV

                                          SANDRA SMITH
                                          Stephen Smith's Mother

   01:16:03   Michael Duncan (Archive)    Later that afternoon, I get another phone call
                                          from my sergeant stating, “Hey, now this has
                                          become a hit and run." Hampton County
                                          Sheriff’s Department is the one who said,
                                          "Hey, a body's in the roadway. It's not a bullet
                                          wound, so it's gotta be a hit and run."

   01:16:11                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

   01:16:18                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

   01:16:21   Drew Tripp                  Even though Steven's death was ultimately
                                          ruled a hit and run, Highway Patrol Officer
                                          Michael Duncan never saw it that way.

   01:16:29   Michael Duncan              I was flabbergasted, because we went from a
                                          homicide, now a hit and run.
                                          How do we go from one extreme to the next,
                                          is the way I felt.

   01:16:43                               GRAPHICS ON SCREEN:
                                          Patrolman Duncan examines
                                          Stephen Smith's body.

   01:16:49                               GRAPHICS ON SCREEN:
                                          AUDIO NOTES OF
                                          SC PATROLMAN MICHAEL DUNCAN

   01:16:51   Michael Duncan (Archive)    At this point, visited the mortuary, took
                                          pictures of the body at the mortuary. There is
                                          no body trauma other than to the head area.
                                          Does not appear to be, in my opinion, struck
                                          by a vehicle. Possibly something else.
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   01:16:51                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Michael Duncan:
                                          At this point, visited the, uh,

   01:16:52                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          mortuary, took pictures of the uh

   01:16:54                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          body at the mortuary.

   01:16:56                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Michael Duncan:
                                          There is no body trauma

   01:16:57                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          other than to the head area.

   01:17:00                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Michael Duncan:
                                          Does not appear to be,
                                          in my opinion, uh, uh,

   01:17:04                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Michael Duncan:
                                          struck by a vehicle.

   01:17:07                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Michael Duncan:
                                          Um, possibly something else.

   01:17:08   Michael Duncan              The medical examiner is saying, “Hey, he was
                                          hit by maybe a truck mirror.” There was
                                          nothing to support that. The force that caused
                                          this injury to his face would have broken any
                                          mirror.

   01:17:13                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

   01:17:19   D'Michelle Dupre            From reports that I read, the injury went from
                                          the right side near the top of the head across
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                                          to the bridge of the nose. Something perhaps
                                          like a baseball bat, or some other linear
                                          object, would cause that type of an injury.

   01:17:20                               GRAPHICS ON SCREEN:
                                          D'MICHELLE DUPRE

                                          Forensic Pathologist

   01:17:34   Michael Duncan              When you get hit by a vehicle, thrown to the
                                          ground, rolled, whatever it is, your clothing is
                                          gonna be tattered, torn, ripped. Shoes will
                                          usually be knocked out. And in this case, the--
                                          the shoes, they were still on his feet at the
                                          time. His phone was still in his pocket.

   01:17:41                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

   01:17:55                               GRAPHICS ON SCREEN:
                                          During the days following Stephen’s
                                          death, Duncan scours the crime
                                          scene on Sandy Run Road.

   01:18:05   Michael Duncan              When Stephen's body was found it was right
                                          in the middle of the road on the yellow lines.
                                          So, you're looking for some type of debris
                                          that's gonna correlate.

   01:18:17                               GRAPHICS ON SCREEN:
                                          AUDIO NOTES OF
                                          SC PATROLMAN MICHAEL DUNCAN

   01:18:17   Michael Duncan (Archive)    There's no car parts, no any type of parts to a
                                          truck, or any other vehicle.

   01:18:17                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Michael Duncan:
                                          There's no car parts, no, any type of,
                                          uh, uh,

   01:18:22                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          parts to a truck or any other vehicle.

   01:18:26   Michael Duncan              There was nothing there. I mean, we walked
                                          for a mile in each direction looking for this
                                          type of evidence.
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   01:18:36   Sandra Smith (Archive)      When they told me a hit and run, I said, that's
                                          impossible, because Stephen wouldn't have
                                          been walking in the road to start with. He
                                          would've cut through the woods. He would
                                          not have been in the highway.

   01:18:36                               GRAPHICS ON SCREEN:
                                          June 23, 2021
                                          WCIV-TV

                                          SANDRA SMITH
                                          Stephen Smith's Mother

   01:18:46   Stephanie Smith (Archive)   Every time me and him walked in the-- the
                                          middle of the road, if we heard a car, or, you
                                          know, seen a car, we would jump in the
                                          woods and wait until it passed us, you know.
                                          Because he always said, "Nobody's going to
                                          get my sexy behind." So, when they said that,
                                          I was just like, "No, that's not Stephen."

   01:18:49                               GRAPHICS ON SCREEN:
                                          June 23, 2021
                                          WCIV-TV

                                          STEPHANIE SMITH
                                          Stephen Smith's Sister

   01:19:03                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

   01:19:07   Michael Duncan              Stephen's car was approximately three miles
                                          away from where he was found. And his
                                          vehicle was there apparently because he had
                                          run out of gas. The gas cap was off.

   01:19:15                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

   01:19:19   Anne Emerson                He leaves the car locked, but he leaves his
                                          wallet in the car.

   01:19:22                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

   01:19:23                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo
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   01:19:24   Michael Duncan              There was so many questions with that. Why
                                          not stay there with your car and call
                                          somebody?

   01:19:28                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

   01:19:31                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

   01:19:35   Drew Tripp                  Michael Duncan knew something was not
                                          right in this case from the start. He suspected
                                          foul play from the very beginning. And he
                                          pursued that.

   01:19:47   Michael Duncan              It wasn't about me, honestly. It was about
                                          Stephen and his family. Our whole team
                                          wanted answers for Stephen's family.

   01:19:57                               GRAPHICS ON SCREEN:
                                          Someone else is also thinking about
                                          Stephen’s family.

   01:20:03   Anne Emerson                Soon after Stephen had been found dead,
                                          Stephen's father got a call from Randy
                                          Murdaugh, Alex Murdaugh’s brother, asking
                                          whether or not he needed representation. They
                                          were surprised. To have Randy Murdaugh,
                                          who is an extremely powerful personal injury
                                          lawyer in this region, reach out to the father
                                          of Stephen Smith was extraordinary. In such a
                                          small town, possibly that would be the kind of
                                          case that they would take on.

   01:20:14                               GRAPHICS ON SCREEN:
                                          RANDY MURDAUGH

   01:20:36   Kimberly Brant              Why would Randy Murdaugh call Stephen
                                          Smith's house, after he's found dead in the
                                          road and offer to represent the family?

   01:20:41                               GRAPHICS ON SCREEN:
                                          KIMBERLY BRANT
                                          Hampton Native

   01:20:46   Anne Emerson                He was a personal injury lawyer, he worked at
                                          PMPED. That is what they did. So, was it
                                          totally out of the ordinary that he would have
                                          reached out? No.
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   01:20:57                               GRAPHICS ON SCREEN:
                                          Duncan suspects he is
                                          being surveilled.

   01:21:05   Michael Duncan              I covered the lower part of the state, and I
                                          would travel into Hampton, and get these
                                          phone calls, said, “Hey, you're here in
                                          Hampton County. Hey what are--what are you
                                          over here for?” Or, “What do you need? Are
                                          you needing any assistance?” To me, the
                                          subtext was, “We know you're here. And we
                                          wanna know why you're here. What do you
                                          know about what's going on in this county?”
                                          It was like, “You don't need to be here.”
                                          That's the way it was perceived. I would
                                          suspect that I was being followed. Certain
                                          people in that area, whether it be law
                                          enforcement, some other agency, or--or some
                                          group, I felt like somebody knew some of my
                                          movements. So, it would be very unnerving
                                          when I was in Hampton County and get these
                                          phone calls, I would, like, be extra careful and
                                          mindful. And even when I exited that area, I
                                          was always mindful, is somebody following
                                          me? Is this car behind me? Has it been back
                                          there too long?

   01:21:14                               GRAPHICS ON SCREEN:
                                          MICHAEL DUNCAN
                                          South Carolina Highway Patrol (Ret.)

   01:22:14                               GRAPHICS ON SCREEN:
                                          A week into the investigation,
                                          Duncan locates Stephen’s boyfriend.

   01:22:22   Michael Duncan              When I spoke with Stephen Smith's
                                          boyfriend, he was supposedly the last one
                                          who spoke with Stephen that night. So, I
                                          wanted to find out, one, was he someone who
                                          was of some interest in this case?

   01:22:37                               GRAPHICS ON SCREEN:
                                          Actual Police Interview Audio

   01:22:37   Michael Duncan (Archive)    And what was the conversation y'all were
                                          talking about?

   01:22:37                               GRAPHICS ON SCREEN:
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                                              [SUBTITLES]
                                              Michael Duncan:
                                              And what was the conversation

   01:22:38                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              y'all were talking about?

   01:22:40   Stephen's Boyfriend (Archive)   I asked him on one of the calls, "Are you
                                              walking, cause I hear cars going by?" And he-
                                              - his answer to me was, "No." And then the
                                              call dropped.

   01:22:40                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Stephen's Boyfriend:
                                              I asked him on one of the calls,

   01:22:41                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              "Are you walking, 'cause I hear
                                              cars going by?"

   01:22:44                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              and he, his answer to me was, "No."

   01:22:47                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Stephen's Boyfriend:
                                              And then the call dropped.

   01:22:49   Michael Duncan                  He didn't know exactly where Steven was at.

   01:22:53   Stephen's Boyfriend (Archive)   He did say that he felt he was being followed.
                                              He said that he was being harassed.

   01:22:53                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              He did say, um, that he felt
                                              he was being followed.

   01:22:53                                   GRAPHICS ON SCREEN:
                                              Actual Police Interview Audio

   01:22:58                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Stephen’s boyfriend:
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                                              He said that he was being harassed.

   01:23:00   Michael Duncan (Archive)        By who?

   01:23:00                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Micheal Duncan:
                                              By who?

   01:23:00   Stephen's Boyfriend (Archive)   He didn’t say. He said it was a couple guys in
                                              a pickup truck. The last thing he said is "I'm
                                              on my way," on the text. I believe it said, "I'm
                                              30, 40 minutes away." I believe the last text,
                                              if my mind calls me correct, that I looked at,
                                              it was 3:37 AM.

   01:23:00                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Stephen’s boyfriend:
                                              He didn’t say. He said it was

   01:23:02                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              a couple guys in a pickup truck.

   01:23:04                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Stephen’s boyfriend:
                                              The last thing he said is, "I'm on my way."

   01:23:07                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Stephen’s boyfriend:
                                              On the text I believe it said

   01:23:09                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              "I'm 30, 40 minutes away."

   01:23:11                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              I believe the last text,

   01:23:13                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Stephen’s boyfriend:
                                              if my mind calls me correct,
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   01:23:15                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Stephen’s boyfriend:
                                              that I looked at, it was 3:37 AM.

   01:23:18   Michael Duncan                  The more I talked with him, he was more
                                              concerned about finding Stephen’s killer
                                              instead of it being him.

   01:23:28                                   GRAPHICS ON SCREEN:
                                              Actual Police Interview Audio

   01:23:28   Stephen's Boyfriend (Archive)   You want me to take a lie detector test? I'm
                                              telling you, I'll do it. Let's do it. Set it up.
                                              Okay? Let's do it. Cause I'm telling you I
                                              didn't do this.

   01:23:28                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Stephen’s Boyfriend:
                                              You want me to take a lie detector test?

   01:23:30                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              I'm telling you I'll do it. Let's do it.
                                              Set it up.

   01:23:32                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Stephen’s Boyfriend:
                                              Let's do it, 'cause I'm telling you

   01:23:33                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              I didn't do this.

   01:23:35   Michael Duncan                  It was getting clearer that this person was not
                                              of somebody of--of interest, and that this was
                                              a homicide. He was murdered. That's what I
                                              think happened to Steve. He was murdered by
                                              someone, or a group, through some type of
                                              blunt force trauma. And somebody in
                                              Hampton County knows exactly who did it.

   01:23:56                                   GRAPHICS ON SCREEN:
                                              During August and September 2015,
                                              investigators interview many people
                                              who knew Stephen.
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   01:24:02   Michael Duncan              There was friends that went to high school
                                          with Stephen, all of 'em were--were basically
                                          saying, "I've heard one thing or another about
                                          Stephen's death."

   01:24:12                               GRAPHICS ON SCREEN:
                                          Actual Police Interview Audio
                                          September 2, 2015

   01:24:13   Patrolman (Archive)         Just go ahead and--and tell me, you know,
                                          what you heard.

   01:24:13                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Patrolman:
                                          Just go ahead and tell me, you know,
                                          what you heard.

   01:24:16   Friend #1 (Archive)         Yessir, not a problem. I heard that these two,
                                          maybe three young men were in a vehicle,
                                          saw the car on the side of the road, I guess,
                                          saw the boy walking. They turned back
                                          around. I guess they were attempting to--, I
                                          don't wanna say, you know, mess around with
                                          him or something like that, and stuck
                                          something out the window, and it, you know,
                                          hit him...I did hear names and I'm--, or heard
                                          a name, and that name was--, he goes by
                                          Buster Murdaugh. The only name that was
                                          given to me was the Murdaugh name. And, of
                                          course, everybody's kinda shy to say, to say
                                          that out, you know what I mean? Because of,
                                          of the--, yeah, I won’t say power, but of the,
                                          the name, you know, it brings a certain
                                          standard when you say Murdaugh in Hampton
                                          County.

   01:24:16                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1:
                                          Yessir not a problem.
                                          I heard that these

   01:24:20                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1:
                                          two, maybe three
                                          young men were in a vehicle
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   01:24:23                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          saw the car on the side of the road,

   01:24:26                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          I guess, saw the boy walking.
                                          Um, they turned back around,

   01:24:30                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          I guess they were
                                          attempting to, I don't wanna say,

   01:24:33                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          you know, mess around
                                          with him or something like that and

   01:24:36                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          stuck something out
                                          the window and it, you know, hit him.

   01:24:42                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          I did hear names
                                          and I'm, um, or heard a name

   01:24:46                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          and that name was,
                                          he goes by Buster Murdaugh.

   01:24:51                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          The only name that was
                                          given to me was the Murdaugh name.

   01:24:54                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          And, of course,
                                          everybody's kind of shy to say,

   01:24:57                               GRAPHICS ON SCREEN:
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                                          [SUBTITLES]
                                          to say that out, you know what I mean?
                                          Because of

   01:24:59                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          of the, yeah, I don't
                                          wanna say power, but of the

   01:25:02                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          the name, you know, it brings a certain

   01:25:05                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          standard when you say
                                          Murdaugh in Hampton County.

   01:25:07   Friend #2 (Archive)         Someone was talking about how he died. And
                                          then it was like, "Well, you guys did it." And
                                          then he was like, "Nope. Didn't." He was,
                                          like, "Well, Buster did it."

   01:25:07                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #2
                                          Someone was talking about how he died.

   01:25:10                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          And then it was like you guys did it.

   01:25:12                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #2
                                          And then he was like, "Nope. Didn't."

   01:25:14                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #2
                                          And then he was like well, Buster did it.

   01:25:16   Patrolman (Archive)         And who was that?

   01:25:16                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          And who was that?
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   01:25:18   Friend #2 (Archive)         Buster Murdaugh.

   01:25:18                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #2
                                          Buster Murdaugh.

   01:25:20   Friend 3 (Archive)          We just heard that Buster did it. So, after that,
                                          I mean, everybody knows who Buster is and,
                                          like, his family and all that. So, it was kinda,
                                          like, shocking.

   01:25:20                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #3
                                          We just heard that, uh, Buster did it.

   01:25:23                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #3
                                          So...after that, I mean,
                                          everybody knows who Buster

   01:25:26                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #3
                                          is and like his family and all that.

   01:25:29                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #3
                                          So, it was kind like shocking.

   01:25:31   Michael Duncan              You would hear all these rumors, but they
                                          were all the same type of stories.

   01:25:36                               GRAPHICS ON SCREEN:
                                          Actual Police Interview Audio
                                          September 2, 2015

   01:25:37   Friend #4 (Archive)         We heard it was Buster and I was like--. They
                                          were saying, "If it's him, it's--. Nothing was
                                          gonna be done about it because of who he
                                          was."

   01:25:37                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          We heard it was Buster and I was like,
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                                          they were saying if it's him,

   01:25:41                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          he... it's... nothing was going to be
                                          done about it because of who he was.

   01:25:52   Michael Duncan              It's constantly there. It's not like it was
                                          brought up one time. When the Murdaugh
                                          family's name come about, it was like, okay,
                                          we gotta treat this one a little bit different at
                                          this point, because it is a well-known
                                          powerful family in this area. It was at that
                                          point in time we had to say, hey, do we have
                                          stuff that we're gonna have to connect the dots
                                          with?

   01:26:10                               GRAPHICS ON SCREEN:
                                          Actual Crime Scene Photo

   01:26:17                               Break 3

   01:26:31                               GRAPHICS ON SCREEN:
                                          Actual Police Interview Audio
                                          September 2, 2015

   01:26:31   Friend #1 (Archive)         It wouldn't surprise me, just because of--, I
                                          feel like they wouldn't want anything to
                                          happen to their reputation, or name, or
                                          anything like that. And I've known the
                                          Murdaugh family, like said, pretty much my
                                          whole life.

   01:26:31                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          It wouldn't surprise me just because of,

   01:26:34                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          I feel like they wouldn't want
                                          anything to

   01:26:36                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          happen to their reputation or name or

   01:26:38                               GRAPHICS ON SCREEN:
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                                          [SUBTITLES]
                                          Friend #1
                                          anything like that. And, um,

   01:26:41                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          I've known the Murdaugh family,

   01:26:43                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          like I said, pretty much my whole life.

   01:26:46                               GRAPHICS ON SCREEN:
                                          ANNE EMERSON
                                          Investigative Reporter WCIV TV

   01:26:46   Anne Emerson                There was another Murdaugh mentioned, and
                                          that was Buster's little brother, Paul.

   01:26:52   Friend #1 (Archive)         And when I originally heard this, I was
                                          thinking of the younger Murdaugh boy,
                                          Buster's little brother, Paul. Because Paul's
                                          more the--, I don't wanna say troublemaker,
                                          but, I mean, with the right amount of alcohol
                                          or drugs.

   01:26:52                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          And when I originally heard this,

   01:26:52                               GRAPHICS ON SCREEN:
                                          Actual Police Interview Audio
                                          September 2, 2015

   01:26:54                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          I was thinking of
                                          the younger Murdaugh boy.

   01:26:57                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Buster's little brother Paul,

   01:26:59                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
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                                          because Paul's more the, uh,

   01:27:04                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          I don't wanna say troublemaker, but,

   01:27:06                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          I mean, with the right
                                          amount of alcohol or drugs…

   01:27:10   Kimberly Brant              Rumors were everywhere. The scenario that
                                          was presented to me was, they were out
                                          joyriding, they see the boy walking down the
                                          side of the road, Paul leans out the window,
                                          pegs him with a baseball bat. That did not
                                          surprise me one bit. I could see it happening. I
                                          could see Paul doing that.

   01:27:33                               GRAPHICS ON SCREEN:
                                          KIMBERLY BRANT
                                          Hampton Native

   01:27:42                               GRAPHICS ON SCREEN:
                                          Additional, unsubstantiated rumors
                                          surface during law enforcement’s
                                          interviews with Stephen’s friends.

   01:27:47   Gregg Roman                 There may have been a closer relationship
                                          between Buster and Stephen than their parents
                                          had known about.

   01:27:50                               GRAPHICS ON SCREEN:
                                          GREGG ROMAN
                                          Investigative Journalist

   01:27:59   Anne Emerson                Him and Buster were in high school together.

   01:28:03   Michael Duncan              You would hear all these rumors that Buster
                                          and Steven may have had a relationship
                                          together.

   01:28:10   Friend #1 (Archive)         He heard it from her. She heard it from
                                          Buster's best friend.

   01:28:10                               GRAPHICS ON SCREEN:
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                                          [SUBTITLES]
                                          Friend #1
                                          He heard it from her.

   01:28:10                               GRAPHICS ON SCREEN:
                                          Actual Police Interview Audio
                                          September 2, 2015

   01:28:12                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #1
                                          She heard it from Buster's best friend.

   01:28:14                               GRAPHICS ON SCREEN:
                                          Actual Police Interview Audio
                                          August 6, 2015

   01:28:14   Patrolman (Archive)         Kindly tell me what you told her about that.

   01:28:14                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Patrolman:
                                          Kindly tell me what
                                          you, uh, told her about that.

   01:28:18   Friend #5 (Archive)         Another friend of mine had texted me asking
                                          me if Buster and Stephen were
                                          together. Well, then, I asked him why. He
                                          said, because he had heard that.

   01:28:18                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #5
                                          Another friend of mine
                                          had texted me asking me if

   01:28:21                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Buster and Stephen were
                                          together well, then, I asked him why.

   01:28:25                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #5
                                          He said, because he
                                          had heard that.

   01:28:28   Patrolman (Archive)         So, the only rumor you heard is possibly
                                          Buster having a-- some type of relationship
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                                          with Stephen?

   01:28:28                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Patrolman:
                                          So, the only rumor you
                                          heard is possibly, ah,

   01:28:30                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Buster having a, some type of

   01:28:32                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          relationship with Stephen?

   01:28:33   Friend 3 (Archive)          Yes, sir.

   01:28:33                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #3:
                                          Yes, sir

   01:28:38   Michael Duncan              Is it a true story? You have to take any of that
                                          information with a grain of salt. The
                                          investigation was not really leading
                                          anywhere. You would never get a individual
                                          that you could talk to that was there at the
                                          time. We are in Hampton County. My opinion
                                          is, as far as the Murdaughs, and--them
                                          knowing everybody in that county, I believe
                                          that they do run that county to an extent. That
                                          is my belief...The investigation went cold.
                                          After probably fall towards winter, there was
                                          very limited information coming in, you
                                          know, and at some point in time, you're--
                                          where do you go? We have followed every
                                          lead that we could.

   01:29:37   Sandra Smith (Archive)      I don't see any reason why they would-- any
                                          reason they would have to, you know, harm
                                          Stephen. But then, later on, it just kept
                                          coming up, Murdaughs, Murdaughs,
                                          Murdaughs. And then everything was just,
                                          like, swept under the rug. So then, that just
                                          got me thinking, well maybe they did have
                                          something to do with it.

   01:29:39                               GRAPHICS ON SCREEN:
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                                          June 23, 2021
                                          WCIV-TV

                                          SANDRA SMITH
                                          Stephen Smith's Mother

   01:29:57   Kimberly Brant              There was nothing. It was a cold case, it dried
                                          up. It just dried up until Paul and Maggie
                                          were killed.

   01:30:03                               GRAPHICS ON SCREEN:
                                          No rumors regarding Stephen and
                                          Buster’s alleged relationship have been
                                          substantiated and all remain speculation.

   01:30:10                               GRAPHICS ON SCREEN:
                                          SLED has not revealed what
                                          evidence led them to reopen the
                                          Stephen Smith case.

                                          They are following multiple leads
                                          and have not identified suspects.

   01:30:18                               GRAPHICS ON SCREEN:
                                          Buster Murdagh has not been named
                                          a suspect or person of interest in
                                          Stephen Smith’s death.

   01:30:25                               GRAPHICS ON SCREEN:
                                          Timeline of years started at 2015 and
                                          counting forwards to 2021

   01:30:32   Anne Emerson                After the double murders, the focus was
                                          narrowing on the Murdaugh dynasty, and
                                          there were so many questions, and everything
                                          in their life was getting examined.

   01:30:42   Newsreader (Archive)        SLED is investigating the death of a
                                          housekeeper who worked for the Murdaugh
                                          family. Gloria Satterfield died after she
                                          allegedly tripped and fell at the Murdaugh’s
                                          home back in 2018.

   01:30:56   Drew Tripp                  February 2nd 2018, Maggie Murdaugh calls
                                          911.

   01:31:03                               GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          February 2nd, 2018
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   01:31:04   911 Operator (Archive)      911. Where is your emergency?

   01:31:04                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          911. Where is your emergency?

   01:31:05   Maggie Murdaugh (Archive)   Moselle Road.

   01:31:05                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          Moselle Road.

   01:31:07   911 Operator (Archive)      What's going on out there?

   01:31:07                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          What's going on out there?

   01:31:09   Maggie Murdaugh (Archive)   My housekeeper has fallen and her head is
                                          bleeding. I cannot get her up.

   01:31:09                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          Uh, my housekeeper has fallen,

   01:31:11                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          and her head is bleeding.

   01:31:12                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          I cannot get her up.

   01:31:17   Drew Tripp                  Gloria Satterfield was a longtime
                                          housekeeper, nanny, personal assistant to the
                                          Murdaugh family. She worked in the
                                          Murdaugh's home, took care of domestic
                                          issues for them.

   01:31:18                               GRAPHICS ON SCREEN:
                                          DREW TRIPP
                                          Investigative Producer WCIV TV
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   01:31:28   Gregg Roman                 She allegedly fell at the Murdaugh family
                                          home.

   01:31:32   Anne Emerson                This is a hunting lodge. This is an active
                                          hunting lodge. Gloria Satterfield was in some
                                          type of trip and fall accident on the brick
                                          stairs, and these are brick stairs that lead into
                                          the hunting lodge.

   01:31:47                               GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          9:25 am

   01:31:48   Maggie Murdaugh (Archive)   She fell going up the steps, up the brick steps.

   01:31:48                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          She fell going up the steps,
                                          up the brick steps.

   01:31:51   911 Operator (Archive)      Okay. So is she outside or inside?

   01:31:51                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay. So is she outside or inside?

   01:31:53   Maggie Murdaugh (Archive)   Outside.

   01:31:53                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          Outside.

   01:31:54   911 Operator (Archive)      Okay. How many steps is there?

   01:31:55                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          How many steps is there?

   01:31:56   Maggie Murdaugh (Archive)   Eight.

   01:31:56                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
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                                          Uh... Eight.

   01:31:57   911 Operator (Archive)      Okay. Is she on the ground or is she up near
                                          the top?

   01:31:57                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay. Is she on the ground or is she up
                                          near the top?

   01:32:00   Maggie Murdaugh (Archive)   She's on the ground. She's on the ground.
                                          She's on the ground.

   01:32:00                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          She's on the ground.
                                          She's on the ground.

   01:32:02                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          She's on the ground.

   01:32:02   911 Operator (Archive)      Is she conscious?

   01:32:02                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Is she conscious?

   01:32:03   Maggie Murdaugh (Archive)   No, not really.

   01:32:03                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          No. Not really.

   01:32:05   911 Operator (Archive)      How old is she?

   01:32:05                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          How old is she?

   01:32:06   Maggie Murdaugh (Archive)   I'm not sure. Like 58, maybe.
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   01:32:06                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          I'm not sure, like 58. Maybe.

   01:32:11   Anne Emerson                We don't know who was there with Gloria
                                          Satterfield when she actually fell on those
                                          stairs. And we don't know exactly how long
                                          she's been there, but we do know that Maggie
                                          has discovered her, and that Paul is there.

   01:32:26                               GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          9:24 am

   01:32:26   911 Operator (Archive)      Can you ask the patient what kind of pain
                                          she's having?

   01:32:26                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Can you ask the patient what kind
                                          of pain she's having?

   01:32:29   Paul Murdaugh (Archive)     Ma'am, she can't talk.

   01:32:29                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          Ma'am, she can't talk.

   01:32:30   911 Operator (Archive)      Okay. Do you know--

   01:32:30                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Okay. Do you know...

   01:32:32   Paul Murdaugh (Archive)     She's cracked her head and there's blood on
                                          the concrete and she's bleeding out of her left
                                          ear.

   01:32:32                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          She's cracked her head and there's
                                          blood on the concrete

   01:32:34                               GRAPHICS ON SCREEN:
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                                          [SUBTITLES]
                                          and she's bleeding out of her left ear.

   01:32:36   911 Operator (Archive)      Okay. She's bleeding out of her ear.

   01:32:36                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay. She's bleeding out of her ear.

   01:32:38   Paul Murdaugh (Archive)     And out of her head, she's cracked the skull.

   01:32:38                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          And out of her head,
                                          she's cracked the skull.

   01:32:42   Linda Hiers                 Gloria and I, we became friends when we
                                          were, like, four years old. We grew up
                                          together, our parents were best friends. And
                                          I’m gonna tell ya, it's very rare to have a best
                                          friend, okay?

   01:32:43                               GRAPHICS ON SCREEN:
                                          LINDA HIERS

                                          Friend of Gloria Satterfield

   01:33:01                               GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          9:24 am

   01:33:01   911 Operator (Archive)      Okay. Do you guys know who she is?

   01:33:01                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay. Do you guys know who she is?

   01:33:04   Paul Murdaugh (Archive)     Yes. She works for us.

   01:33:04                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          Yes. She works for us.

   01:33:07   Linda Hiers                 Paul was a year old when she started with
                                          them. She treated those boys, Buster and Paul,
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                                          like hers. Anytime they'd call, she'd drop what
                                          she was doing and go to 'em. I know that she
                                          took care of their home in Hampton. She
                                          would have to clean it, and she would have to
                                          cook for ‘em.

   01:33:29   Kimberly Brant              And she did it with a smile on her face and a
                                          song in her heart every day. To meet her, you
                                          never would know that her walk was what it
                                          was.

   01:33:39   Linda Hiers                 And I always told everyone, I was a sinner
                                          and she was a saint. She was a good mom.
                                          She was. She loved her boys.

   01:33:49   Anne Emerson                Gloria Satterfield had two sons, Bryan and
                                          Tony. And as a single working mom, she
                                          pretty much raised them on her own.

   01:33:58   Linda Hiers                 Gloria had to work, point blank. As far as I
                                          know, she never got a paid vacation when she
                                          was working for the Murdaugh’s. If Gloria
                                          was sick, Gloria still went to work, because
                                          she couldn't afford not to.

   01:34:12   Kimberly Brant              Gloria also worked for my half-sister two
                                          days a week. I would be in my sister's kitchen,
                                          and I would say to Gloria, "Well, Gloria.
                                          What's going on today?" And she said, "Paul
                                          came in and got a knife out of the kitchen
                                          drawer." She said. "Paul what are you doing?"
                                          And he said I'm gonna kill that <BLEEP>
                                          squirrel." Paul was five years old! "Gonna kill
                                          a <BLEEP> squirrel."

   01:34:43   Linda Hiers                 Gloria did say that he would he would cut up
                                          animals, just-- just to be doing it.

   01:34:52   Kimberly Brant              Maggie let them do as they pleased, basically.
                                          I don't know if she couldn't control them or if
                                          she just didn't control them. Paul would talk
                                          to you the same way he would talk to one of
                                          his friends.

   01:35:06   Linda Hiers                 I had met Gloria over at Maggie and Alex's
                                          house, and she had both of the boys in the
                                          van. And Buster, maybe I told him to fasten
                                          his seatbelt or something, and that's when he
                                          told me, "You don't tell me what to do. I'll tell
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                                          you my name, and I'll tell you who my daddy
                                          is, my granddaddy and my great granddaddy."
                                          I said, "I don't care who you are, you're not
                                          going to disrespect me."

   01:35:32                               GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          9:24 am

   01:35:32   911 Operator (Archive)      Do you know what her name is?

   01:35:32                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Do you know what her name is?

   01:35:34   Paul Murdaugh (Archive)     Gloria Satterfield. Ma'am, can you stop
                                          asking all these questions?

   01:35:34                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          Gloria Satterfield.

   01:35:36                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Paul Murdaugh:
                                          Ma'am, can you stop
                                          asking all these questions?

                                          911 Operator:
                                          I already have
                                          them on the way.

   01:35:37   911 Operator (Archive)      I already have them on the way. I already
                                          have them on the way. Me asking questions
                                          does not slow them down in any way.

   01:35:39                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          I already have them on the way,

   01:35:40                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          me asking questions
                                          does not slow them down in any way.

   01:35:44   Gregg Roman                 Gloria was then taken to the hospital, where
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                                          she sat for a few weeks in intensive care. Her
                                          son visiting her, day after day.

   01:35:54   Anne Emerson                And she has a traumatic brain injury,
                                          hemorrhaging in the brain, and she's got
                                          cracked ribs.

   01:36:02   D'Michelle Dupre            She had, what's called, a subdural hematoma,
                                          which is basically a blood clot under the skull.
                                          So, because of that injury, Gloria would suffer
                                          some semi-consciousness, eventually
                                          unconsciousness.

   01:36:10                               GRAPHICS ON SCREEN:
                                          D'MICHELLE DUPRE

                                          Forensic Pathologist

   01:36:17   Anne Emerson                She's never able to tell her family what
                                          happened to her. How did she get on those
                                          stairs? How long had she been lying there?

   01:36:27   Linda Hiers                 When I saw Gloria in the hospital, my
                                          daughter went with me, and I realized this is
                                          really bad. She's just laying there. She started
                                          moving her legs, but then she tried to pull her
                                          mask off her face, and I think she was trying
                                          to talk to me. I asked my daughter, "Do you
                                          believe Ms. Gloria was trying to tell me
                                          something?" She says, "Mom, I believe she
                                          was."

   01:36:58                               Break 4

   01:37:08                               GRAPHICS ON SCREEN:
                                          Hampton, SC

   01:37:13   Anne Emerson                When Gloria Satterfield is in the hospital,
                                          Alex Murdaugh never comes to the hospital to
                                          go and visit, and Maggie Murdaugh only
                                          makes an appearance once. She's been
                                          cooking and cleaning for this family for more
                                          than two decades.

   01:37:22                               GRAPHICS ON SCREEN:
                                          ANNE EMERSON
                                          Investigative Reporter WCIV TV

   01:37:30   Michael Virzi               Gloria Satterfield spent about three weeks in
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                                          the hospital and ultimately died there. And
                                          apparently was not able to give any kind of
                                          statement during her time there.

   01:37:34                               GRAPHICS ON SCREEN:
                                          MICHAEL VIRZI

                                          Attorney, Legal Ethics Expert

   01:37:41   D'Michelle Dupre            I saw the death certificate, and the death
                                          certificate says that it was a natural cause, of
                                          death. The subdural hematoma is almost
                                          always from some type of inflicted trauma,
                                          which can--can be from a fall. Now, whether
                                          she actually tripped and fell, or whether she
                                          was pushed, there's no way to really tell.

   01:37:47                               GRAPHICS ON SCREEN:
                                          D'MICHELLE DUPRE

                                          Forensic Pathologist

   01:38:03   Anne Emerson                Now you've got two different accounts of how
                                          she died. Was it natural or was it an accident?

   01:38:16   Kimberly Brant              The rumors around the town were that Gloria
                                          found Paul's drugs and she was going to tell,
                                          and he pushed her down the stairs. When I
                                          knew Paul, he was someone that had no
                                          regard for anyone.

   01:38:16                               GRAPHICS ON SCREEN:
                                          KIMBERLY BRANT
                                          Hampton Native

   01:38:37   Linda Hiers                 It could be a possibility that Paul could've
                                          pushed Gloria. But we don't know. We may
                                          never know, but anything's a-- a possibility.
                                          At the cemetery, for the funeral, I spoke to her
                                          brothers, her sisters, her boys, naturally, Tony
                                          and Brian. But the one person there that did
                                          not speak to me was Maggie. I thought it was
                                          kinda odd because she knew that Gloria and I
                                          were best friends.

   01:38:40                               GRAPHICS ON SCREEN:
                                          LINDA HIERS

                                          Friend of Gloria Satterfield
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   01:39:13   Anne Emerson                Alex Murdaugh comes up to the boys after
                                          their mother's funeral and says, “I need to take
                                          care of this. Let me take care of this. I need to
                                          make this right. She fell on my property, she
                                          fell at my house. It was my dog's fault. My
                                          dogs did this."

   01:39:30   Kimberly Brant              There were no dogs barking in that 911 call.
                                          Maggie didn't say anything about tripping
                                          over the dogs, she was just on the ground.

   01:39:38                               GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          9:24 am

   01:39:38   911 Operator (Archive)      Okay. Is she on the ground or is she up near
                                          the top?

   01:39:38                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay. Is she on the ground or is she
                                          up near the top?

   01:39:41   Maggie Murdaugh (Archive)   She's on the ground. She's on the ground.

   01:39:41                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          She's on the ground.
                                          She's on the ground.

   01:39:43   Anne Emerson                Now, they've got dogs. They've got kennels.
                                          This is a hunting lodge. And these dogs, from
                                          what we understand, were pretty
                                          rambunctious.

   01:39:52   Linda Hiers                 Was there dogs around Gloria? Or was there
                                          not? That's a million dollar question.

   01:40:03   Michael Virzi               Alex said, “I'm responsible for your mother's
                                          death. I'm gonna sue myself, we're gonna get
                                          you some money from my insurance
                                          company.” The idea of a lawyer suing himself
                                          is as every bit as ridiculous as it sounds. You
                                          can't sue yourself. You can't be on both sides
                                          of a case. Either as a lawyer on both sides, or
                                          as a party on both sides. And he was a lawyer
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                                          on one side and a party on the other side.
                                          Absolutely impermissible as a lawyer to do
                                          that.

   01:40:37   Gregg Roman                 Alex Murdaugh reached out to Tony
                                          Satterfield, Gloria Satterfield's son, and said
                                          to him, "I have a great attorney who can
                                          represent you in a wrongful death lawsuit
                                          against my estate."

   01:40:43                               GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          9:24 am

   01:40:51   Michael Virzi               They went and met with his friend, Corey
                                          Flemming, and--and a--agreed to be
                                          represented by Corey and Alex. And even
                                          continued to communicate with Alex as their
                                          lawyer during the case.

   01:41:04   Anne Emerson                The boys take a back seat because they're told
                                          to wait for the settlement. They wait for a
                                          year, and they haven't heard anything about
                                          the settlement.

   01:41:12   Michael Virzi               A local reporter who was looking into the
                                          boat crash came across this petition for court
                                          approval of a $505,000 settlement in the court
                                          records, in the name of Gloria Satterfield.
                                          This reporter had wrote an article about it, and
                                          apparently that's where the Satterfields first
                                          learned about it.

   01:41:35   Anne Emerson                What death settlement? What $505,000? They
                                          had been told that they were still waiting for
                                          that money to come through.

   01:41:43   Michael Virzi               I've been a lawyer for 22 years. I've never
                                          seen a case where there was this much theft
                                          over this long a period of time, and this much
                                          suspicious death surrounding one lawyer, this
                                          much cover-up. And I've never seen it done
                                          with someone with this much power.

   01:41:57                               CREDITS BEGIN

                                          Executive Producer
                                          GENO McDERMOTT
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                                          CLAY HERETH

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   01:42:01   D'Michelle Dupre            Five deaths are all associated with the
                                          Murdaugh family. Paul and Maggie. You
                                          have Mallory Beach, you have Gloria
                                          Satterfield, and you have Stephen Smith. And
                                          they're all somehow related to the Murdaugh
                                          family.

   01:42:16   Kimberly Brant              This is a Pandora's box. It's already open and
                                          the demons are loose.
